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                                      ORIGINAL
                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION


UNITED STATES OF AMERICA                      )

              VS.                             )                     CASE NO: CR115-077-014

                                               )
EUGENE MICHAEL GROSS


                                           ORDER


       The defendant, Eugene Michael Gross, is in the custody of the Bureau of Prisons.

       Surety, Deborah Wilson Gross, has requested the return of the $2,000.00 cash security

posted on the defendant's $20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by Deborah Wilson Gross for this defendant, plus all accrued interest thereon, be returned to:

Deborah Wilson Gross at 429 Utley Rd., Waynesboro, GA 30830-3210.



       This   _j_day of         ^cJufUO^- ,2016 at Augusta, Georgia.


                              J. RANDATHALL, DISTRICT JUDGE
                             JJNITED^TATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
